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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


MARK ORTEGA,                                     §
                                                 §
                  Plaintiff,                     §                SA-24-CV-00487-OLG
                                                 §
vs.                                              §
                                                 §
SIENNA MARKETING &                               §
CONSULTING INC.,                                 §
                                                 §
                  Defendant.                     §



                                            ORDER

        Before the Court in the above-styled cause of action is Plaintiff’s Motion for Permission

to File Electronically [#21]. The Court will grant the motion.

        IT IS THEREFORE ORDERED that Plaintiff’s Motion for Permission to File

Electronically [#21] is GRANTED.

        IT IS FURTHER ORDERED that Plaintiff review the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal Cases and the Local Court Rules available

on the Court's website at https://www.txwd.uscourts.gov/cmecf/.

        IT IS FURTHER ORDERED that Plaintiff may file electronically on the Western

District of Texas Official Court Electronic Document Filing System in this cause of action.

        SIGNED this 5th day of February, 2025.




                                     ELIZABETH S. ("BETSY") CHESTNEY
                                     UNITED STATES MAGISTRATE JUDGE
